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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                           ORLANDO DIVISION

CS BUSINESS SYSTEMS, INC.; JAMES
L. SHELTON; VIRGINIA L. SHELTON;
BRAD HECKENBERG; LANA C.
HECKENBERG; PJS RENTAL, LLC;
WON Y. SHIN TRUST; WON Y. SHIN;
BART SUTHERIN; KATHRYN
SUTHERIN; and ITZ GROUP, LLC,

      Plaintiffs,

v.                                             Case No. 6:17-cv-364-Orl37TBS

DWIGHT C. SCHAR; PAUL E.
SIMONSON; DCS INVESTMENTS
HOLDINGS GP, LLC; DCS REAL
ESTATE INVESTMENTS, LLC; DCS
REAL ESTATE INVESTMENTS I, LLC;
DCS REAL ESTATE INVESTMENTS II,
LLC; DCS REAL ESTATE
INVESTMENTS III, LLC; DCS REAL
ESTATE INVESTMENTS IV, LLC; DCS
REAL ESTATE INVESTMENTS IV-A,
LLC; DCS REAL ESTATE
INVESTMENTS V, LLC; BELLA
COLLINA PROPERTY OWNERS
ASSOCIATION, INC.; DAVID
BURMAN; AEGIS COMMUNITY
MANAGEMENT SOLUTIONS, INC.;
RANDALL F. GREENE; KEITH
CLARKE; PAUL LEBREUX; RICHARD
C. ARRIGHI; JAMES D. RYAN;
MICHAEL J. RYAN; THE RYAN LAW
GROUP, LLC; CULLEN D’AMBROSIO;
ROCKING RED H, LLC; RICKY L.
SCHARICH; BELLA COLLINA
TOWERS, LLC,

      Defendants.
_____________________________________

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                                          ORDER

       This cause is before the Court on Plaintiffs’ Complaint for Civil Action (Doc. 1),

filed March 2, 2017. Upon consideration, the Court finds that, to the extent Plaintiffs

request emergency temporary injunctive relief in the Complaint (see id, ¶¶ 516–524), such

request is improper and due to be denied.

       Local Rule 4.05(b) requires, among other things, that a request for a temporary

restraining order (“TRO”) must be made by in a motion separate from the Complaint

and include a supporting memorandum of law. Such memorandum must comply with

Federal Rule of Civil Procedure 65 and set forth specific facts in a verified complaint or

affidavit to demonstrate “not only that the moving party is threatened with irreparable

injury, but that such injury is so imminent that notice and a hearing on the application

for preliminary injunction is impractical if not impossible.” Local Rule 4.05(b)(2).

Additionally, the motion must be accompanied by a proposed temporary restraining

order. Local Rule 4.05(b)(3).

       Here, Plaintiffs improperly subsume their request for a temporary restraining

order in the Complaint, fail to set forth the requisite sworn facts in support of such relief,

and do not include a proposed TRO. Indeed, Plaintiffs’ complete failure to comply with

the applicable rules warrants the summary denial of any purported request for

temporary injunctive relief.

       Accordingly, it is ORDERED AND ADJUDGED that Plaintiffs request for

temporary injunctive relief (Doc. 1, ¶¶ 516–524) is DENIED WITHOUT PREJUDICE. If

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Plaintiffs choose to pursue their request for a temporary restraining order, such request

must comport with the Federal Rules of Civil Procedure and the Court’s Local Rules.

      DONE AND ORDERED in Chambers in Orlando, Florida, on March 2, 2017.




Copies to:
Counsel of Record




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